Case 8:23-cv-02333-SDM-AEP Document 37-1 Filed 03/25/24 Page 1 of 8 PageID 234




        EXHIBIT A
Case 8:23-cv-02333-SDM-AEP Document 37-1 Filed 03/25/24 Page 2 of 8 PageID 235




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA

 BEN DAVIS, individually and
 on behalf of all others similarly situated,


                  Plaintiff,                          Case No. 8:23-CV-02333

 v.


 CR FITNESS HOLDINGS, LLC,

                  Defendant.
                                               /

          DECLARATION OF MATTHEW J. LANGLEY IN SUPPORT OF
          PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR
                              SANCTIONS
         I, Matthew J. Langley, hereby aver, pursuant to 28 U.S.C. 1746, that I am fully

 competent to make this Declaration, that I have personal knowledge of all matters set

 forth herein unless otherwise indicated, and that I would testify to all such matters if

 called as a witness in this matter.

         1.       I am a Partner at Almeida Law Group, LLC, Plaintiff and putative class

 counsel in this action. I make this declaration in support of Plaintiff’s Opposition to

 Defendant’s Motion for Sanctions, filed herewith.

         2.       I am a member in good standing of the New York, Florida, Illinois, and

 California Bars; the United States District Courts for the Southern District of New

 York, the Central District of California, the Southern District of Florida and the

 Middle District of Florida; and the United States Court of Appeals for the Seventh
Case 8:23-cv-02333-SDM-AEP Document 37-1 Filed 03/25/24 Page 3 of 8 PageID 236




 Circuit and the Eleventh Circuit.

        3.     On October 13, 2023, Plaintiff filed this putative class action lawsuit

 alleging violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.

 (the “TCPA”) based on his receipt of an unsolicited call announcing the opening of a

 CR Fitness location near his home in Plano, Texas.

        4.     Counsel for Defendant CR Fitness Holdings, LLC (“CR Fitness” or

 “Defendant”) first made contact with Plaintiff’s counsel five days after the Complaint

 was filed. In that first communication, defense counsel informed Plaintiff’s counsel

 that they had found that an individual with the number ending in “3258 had provided

 prior consent” to “receive SMS text alerts from Crunch” and requested that Plaintiff

 share his full telephone number.

        5.     Undersigned counsel responded the very next day to (i) correct defense

 counsel that the last four digits of Plaintiff’s number was not “3252” but was 3278 as

 had been clearly alleged in the filed Complaint and (ii) provide Plaintiff’s full telephone

 number.

        6.     Defense counsel reached out to Plaintiff’s counsel again on October 25,

 2023 to state that they had their “client check its systems so we could provide a

 consent” but had been unable to locate a record of the call and to request that Plaintiff

 confirm the call was made and forward the voicemail message to defense counsel.

        7.     Two days later, undersigned counsel, after again conferring with

 Plaintiff’s counsel, provided defense counsel both a screenshot of the voicemail page

 and recording of the voicemail Plaintiff received, confirming that Plaintiff had received
                                             2
Case 8:23-cv-02333-SDM-AEP Document 37-1 Filed 03/25/24 Page 4 of 8 PageID 237




 the prerecorded call on the data and time alleged and that the call came from

 Defendant.

       8.       The voicemail recording produced by Plaintiff transmitted the following

 message in English and then again in Spanish:

                It’s Crunch time! Our Plano location is having their one day
                only cyber sale starting 12:01 a.m. October 7th. Only the first
                500 members will receive our founders rate and free Crunch
                flag. Sign up at CrunchPlano.com and don’t forget to tell
                your friends

       9.       On November 3, 2023, defense counsel sent undersigned counsel a letter

 reiterating its inability to locate the call and demanding that the Complaint be

 dismissed “to avoid further motion practice and needless expense incurred on these

 issues.” The majority of Defendant’s letter dealt with its system for obtaining consent

 from customers to “receive SMS marketing text messages” and arguing that

 Defendant’s membership agreement binds its members to submit claims to arbitration.

       10.      Defendant acknowledged that they had no record that Plaintiff was a

 member of Crunch Fitness or that he had provided consent to receive text messages or

 prerecorded.

       11.      The consent language Defendant include in its November 3, 2023 letter

 to Plaintiff reads in part: “you are providing your electronic signature and express

 written consent to receive SMS marketing text messages from Crunch.”

       12.      On November 10, 2023, undersigned counsel responded to Defendant’s

 November 3, 2023 letter by pointing out that the Complaint’s allegations are more


                                              3
Case 8:23-cv-02333-SDM-AEP Document 37-1 Filed 03/25/24 Page 5 of 8 PageID 238




 than sufficient to state a claim, the factual evidence that Plaintiff provided to

 Defendant supports Plaintiff’s claim and Plaintiff did not consent to any calls nor is he

 a member of any Crunch or CR Fitness location and therefore he is not bound by the

 terms of Defendant’s membership agreement.

        13.    Plaintiff attached to the response letter the already produced recording of

 the voicemail and screenshot of the voicemail log as well as a screenshot of the call log

 that showed Plaintiff receiving a missed call from the number ending in 1660 on

 October 6, 2023 at 12:33 p.m.

        14.    Plaintiff’s November 10, 2023 letter also responded to defense counsel’s

 suggestion that the voicemail had been received by Plaintiff as a result of the call being

 forwarded to Plaintiff’s phone from another number. Plaintiff’s counsel stated in its

 Response Letter that it conferred with Plaintiff who was unequivocal in stating that he

 did not have any calls forwarded to his phone number ending in 3278 from any other

 number.

        15.    Plaintiff’s November 10, 2023 letter further explained that Plaintiff called

 Defendant’s number ending in 1660 on November 2, 2023, three weeks after his

 Complaint was filed. As Plaintiff’s counsel explained in its Response Letter and in

 subsequent conversations with defense counsel, after Defendant continued to insist

 that it had no record of the call in question, Plaintiff placed the call to confirm that the

 source of the number was the Crunch Fitness location in Plano, Texas owned by

 Defendant. Plaintiff made the call, confirmed that the number belonged to CR Fitness

 and hung up before speaking with anyone. As Plaintiff relayed to Defendant in
                                              4
Case 8:23-cv-02333-SDM-AEP Document 37-1 Filed 03/25/24 Page 6 of 8 PageID 239




 November 2023, this call was made post-filing and is irrelevant to the allegations in

 the Complaint.

       16.    Following Plaintiff’s response to Defendant’s letter, counsel for the

 parties continued to meet and confer amicably. After affording Defendant the courtesy

 of a five-week extension of its responsive pleading deadline, Plaintiff confirmed to

 defense counsel that the number in the Complaint was the only number that Plaintiff

 used, Plaintiff’s email address and that Plaintiff did not use call forwarding.

       17.    During calls between the parties, defense counsel, rejecting Plaintiff’s

 proof of the call, proposed several scenarios to try to explain how Plaintiff obtained

 the proof of the call that he had produced. Among these were that Plaintiff took a

 photo of someone else’s call log or that he consented to receive calls from CR Fitness

 by providing information regarding someone else’s phone number or that a competitor

 had spoofed the CR Fitness campaign. Plaintiff’s counsel shared these accusations

 with Plaintiff who vigorously denied each of them.

       18.    The parties discussed obtaining Plaintiff’s phone records to further

 establish the source of the prerecorded call. Plaintiff informed defense counsel that

 Defendant’s call to Plaintiff’s cellular telephone did not appear on his AT&T bill

 because it—having gone straight to voicemail—did not use Plaintiff’s data. Plaintiff

 confirmed this in conversations with AT&T and through independent research.

 Plaintiff also informed defense counsel that, in order to access phone records from

 AT&T directly, AT&T required a subpoena and, to access certain data, a court order.

       19.    The parties also discussed Defendant producing the phone records it had
                                             5
Case 8:23-cv-02333-SDM-AEP Document 37-1 Filed 03/25/24 Page 7 of 8 PageID 240




 referenced to support its assertion that it did not make the call to Plaintiff.

        20.    Finally, on January 11, 2024, defense counsel produced heavily redacted

 phone records The first phone record purports to be “a list of all outgoing calls made

 from CR Fitness’ Plano, TX, location on October 6th, 2023 from the number ((214)

 910-1660) . . . from 12:31 PM to 12:38 PM.” The first phone record redacts all but

 seven minutes worth of calls, does not identify the source of the records and reflects

 calls made from 1:31 to 1:38 p.m. on October 6, 2023—not 12:33 p.m. when Plaintiff

 received his call.

        21.    The second phone record purports to be “a list of outgoing cell phone

 calls made from CR Fitness on October 6th, 2023.” This second phone record is a

 heavily redacted cell phone bill that leaves unredacted only calls made and received

 from a cell phone number ending 3619—not the number identified as placing the

 prerecorded call to Plaintiff.

        22.    On February 21, 2024, Defendant served its Rule 11 Notice Letter and

 attached a copy of its Motion for Sanctions. During the ensuing 21 days, counsel for

 the parties discussed investigation of the claims as well as possible resolution of the

 case. Those talks continued up until March 1, 2024 when the parties agreed to file the

 joint Case Management Order. The parties also agreed to extend the time for Plaintiff

 to respond to the Motion to Dismiss, so that they could continue to discuss resolution

 of the factual disputes including the possibility of limited jurisdictional discovery and

 give the Parties time to potentially resolve this action.

        23.    On February 22, 2024, Plaintiff produced to Defense counsel a video of
                                              6
Case 8:23-cv-02333-SDM-AEP Document 37-1 Filed 03/25/24 Page 8 of 8 PageID 241




 Plaintiff (i) opening his cell phone to the home screen, (ii) navigating to “settings,”

 showing that his full name is identified on the phone, (iii) showing that the number

 ending in 3278 is the number of the cell phone in the video, (iv) navigating to his

 voicemail page which shows that a 39-second voicemail from the number 214-910-

 1660 was received on October 6, 2023 at 12:33 p.m. and (v) playing the prerecorded

 voicemail at issue in full.

        24.    However, instead of continuing those discussions, on March 1, 2024,

 Defendant filed its Motion for Sanctions despite the parties having previously

 discussed extending the safe harbor time period for the same two weeks it extended

 the deadline for the time to respond to the Motion to Dismiss.

        25.    Also on March 1, 2024, Defendant propounded discovery on Plaintiff,

 including interrogatories, requests for production and notice that it would be seeking

 third-party discovery from AT&T in the form of a subpoena or order from the court.

        26.    On March 13, 2024, Plaintiff’s counsel notified defense counsel that it

 had included Plaintiff’s full personal phone number in its Motion to Dismiss and

 requested that Defendant refile the motion and redact all but the last four digits of

 Plaintiff’s phone number. Defense counsel refused.

        I declare under penalty of perjury that the foregoing is true and correct.

 Executed this 25th day of March 2024 at Chicago, Illinois.




                                                       Matthew J. Langley

                                             7
